






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-04-00657-CV






Robert D. Kizer, Appellant


v.


Meyer, Lytton, Alen &amp; Whitaker, Inc. d/b/a MLAW Consultants and Engineers, Appellee







FROM THE COUNTY COURT AT LAW NO. 2 OF TRAVIS COUNTY

NO. 269,764, HONORABLE ORLINDA L. NARANJO, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N




	Robert D. Kizer appeals a take-nothing judgment on his claims against Meyer, Lytton,
Alen &amp; Whitaker, Inc. ("MLAW"), a structural engineering firm, for negligence, breach of warranty,
and violation of the Deceptive Trade Practices Act in connection with the design and construction
of his house's foundation.  See Tex. Bus. &amp; Com. Code Ann. §§ 17.01-.854 (West 2002 &amp; Supp.
2004-05).  Specifically, Kizer alleged that the MLAW engineers falsely represented their prior
experience and success with a unique foundation, took advantage of Kizer's lack of experience, and
induced him to act as a "guinea pig" for a novel design.  Kizer further claims that the tile flooring
in his house cracked extensively due to the shifting soil beneath the foundation, and that MLAW
failed to recommend a preventive measure called a "capping slab."  On appeal, Kizer contends that
"the record is legally and factually insufficient to support the jury's findings" against him.  For the
reasons stated below, we affirm the trial court's judgment.


BACKGROUND


	In 1998, Kizer contracted with home designer Patrick Nesby through Larry Wood
Builders (collectively "the builders") to design and build a house near Manor, Texas.  The soil in the
area is composed of porous black clay that swells and shifts as temperature and moisture levels
change.  Considering the soil's composition, the builders recommended that Kizer hire MLAW to
evaluate options for the foundation.  Kizer originally contracted for a typical concrete slab
foundation at a proposed cost of $4,000 to $5,000; however, MLAW and the builders warned him
that such a foundation would have a tendency to crack because of the shifting clay soil beneath it. 
Instead of using the typical foundation consisting of a single concrete slab, Kizer installed a pier and
beam foundation to better withstand the effects of the shifting soil.

	Construction of the foundation began by drilling deep holes into the clay soil, and
positioning steel beams, which rested on "bells," into the holes.  Next, a concrete frame bearing the
layout of the house was placed on the steel beams.  The foundation's construction concluded with
the horizontal placement of four-foot-wide, hollow-core concrete planks or "slabs" over the frame,
which created a crawl space beneath the elevated foundation.  By using individual concrete slabs that
were designed to allow for slight movement, the parties intended to protect the foundation from the
shifting soil and to reduce the potential for damage to the house.

	MLAW constructed the foundation.  Kizer entered into a separate contract for the
installation of tile flooring throughout the house.  The installation did not call for the use of an
intervening layer or "capping slab" to insulate the tiles from the motion of the individual concrete
slabs.  As a result, the tile flooring developed a pattern of cracks at four-foot intervals, located along 
the joints of the underlying slabs.  Kizer estimated that the cost of removing all the tiles and
permanent fixtures on the floor, installing the capping slab, placing new tile, and covering his 
relocation expenses during the repairs would be $200,000.

	Kizer sued MLAW for negligence and breach of warranty.  He also alleged that
MLAW violated the DTPA when it "represent[ed] that [its] . . . services ha[d] . . . characteristics,
benefits, or qualities which they [did] not have," that MLAW committed an "unconscionable action"
by taking advantage of Kizer's lack of experience, and that MLAW's violations were a "producing
cause of [his] economic damages."  See Tex. Bus. &amp; Com. Code Ann. §§&nbsp;17.46(b)(5) (West Supp.
2004-05), 17.45(5) (West 2002), 17.50(a) (West 2002).

	At trial, Kizer testified that MLAW misrepresented that it had successfully used the
same type of elevated foundation on a house that Kizer's neighbor Roy Neidig owned, approximately
three miles from Kizer's land.  Kizer also testified that MLAW failed to advise him that a capping
slab would need to be installed before laying tile over the foundation.  Kizer further testified that
MLAW took advantage of his relative inexperience in construction by recommending a novel
foundation design and that MLAW's acts and omissions caused the cracks in his tile floor.

	MLAW countered that it never claimed to have installed the foundation of the Neidig
house, (1) and that it had the proper, industry-standard experience with this type of foundation (albeit 
primarily in commercial, not residential, construction).  MLAW's witnesses also testified that,
although they were not required to advise Kizer about tile installation, they had nevertheless advised
him to install a capping slab before laying tile or any floor finish besides carpet.  They also testified
that it was their understanding that the builders suggested the capping slab to Kizer, but Kizer
declined, stating that it was unnecessary and that he did not want to spend the extra money on it
because he was going to use carpet.  MLAW pointed to Kizer's professed experience in construction,
as well as the testimony that Kizer acted as his own general contractor and unilaterally decided
against using the capping slab for economic reasons, relying on his own expertise.  MLAW also
testified that although Kizer was contractually bound to inform MLAW of his objectives and
specifications on the project, Kizer failed to inform MLAW that he intended to install tile.  MLAW
denied responsibility for Kizer's failure to install a capping slab or the resulting cracked tiles.

	The jury rejected Kizer's claims and delivered a take-nothing verdict.  The trial court
rendered judgment on the verdict and denied Kizer's motion for a new trial.  Kizer's appeal 
challenges the sufficiency of the evidence supporting the jury's failure to find a DTPA violation
based on MLAW's misrepresentation of its prior experience in designing the foundation.


ANALYSIS


Standard of Review

	A legal sufficiency challenge requires the reviewing court to view the evidence in a
light that tends to support the contested finding and to disregard evidence and inferences to the
contrary.  Wal-Mart Stores, Inc. v. Canchola, 121 S.W.3d 735, 739 (Tex. 2003).  When a plaintiff
claims that a jury verdict is incorrect and that it should have prevailed as a matter of law, the plaintiff
must show both that no evidence supports the verdict and that contrary evidence conclusively proves
the opposite as a matter of law.  City of Keller v. Wilson, 2005 Tex. LEXIS 436, at *24 (Tex. June
10, 2005).  In such a case, while evidence contrary to the verdict will be considered, it will be
disregarded unless it is conclusive.  Id. at *25, *50.  In addition, the reviewing court must indulge
reasonable inferences that the jury may be presumed to have made in favor of their verdict, and
disregard contrary evidence unless a fact finder could not.  Id. at *50, *66.

	In a factual sufficiency review, all of the evidence, both in favor of and contrary to
the verdict, will be considered together.  Ortiz v. Jones, 917 S.W.2d 770, 772 (Tex. 1996).  The
verdict will be set aside only if it is so contrary to the overwhelming weight and preponderance of
the evidence as to be manifestly wrong and unjust.  Id.


Discussion

	In a single point of error, Kizer claims that "[t]he record is legally and factually
insufficient because undisputed, uncontroverted evidence showed that MLAW violated DTPA as
a matter of law."  In support of this contention he makes three arguments: (i) that MLAW's
misrepresentation of its experience with the elevated slab foundation was a violation of the DTPA
as a matter of law; (ii) that MLAW took advantage of his inexperience and that this was an
unconscionable action as a matter of law; and (iii) that MLAW's actions were a producing cause of
his damages.  We will address each of Kizer's arguments under both standards of review.  Kizer
contends that either standard would yield the same result because "undisputed evidence" establishes
MLAW's DTPA violations as a matter of law.  But our review of the record shows that there was,
at the very least, some evidence  supporting the jury's finding that MLAW did not violate the DTPA. 
"[I]f some evidence supports the verdict then the contrary evidence was not 'undisputed.'"  Keller,
2005 Tex. LEXIS 436, at *26.  Furthermore, the evidence that MLAW did violate the DTPA was
not conclusive.  Weighing all the evidence, the jury's verdict that MLAW did not violate DTPA was
not against the great weight and preponderance of the evidence, did not shock the conscience, and 
was not manifestly wrong or unjust.  See Ortiz,&nbsp;917 S.W.2d at 772.

	Kizer contends that MLAW represented that its services had characteristics, benefits
or qualities that they did not have, and that this misrepresentation establishes MLAW's violation of
the DTPA as a matter of law.  While it may be correct that if this fact were uncontroverted, it would
establish a violation of the DTPA as a matter of law, here the evidence of the misrepresentation was
not undisputed.

	To prevail on his legal sufficiency challenge, Kizer must prove both that no evidence
supports the verdict and that the opposite was proved as a matter of law.  Keller, 2005 Tex. LEXIS
436, at *24.  While conclusive evidence may be disputed, evidence contrary to a verdict cannot be
conclusive if there is some evidence to support the jury's finding.  Id. at *30; Canchola, 121 S.W.3d
at 739.  Therefore we must ask whether there is any evidence to support the jury's finding. 

	Kizer testified that he had a conversation with MLAW engineers Dean Read and John
Maggio in which they recommended the elevated hollow-core slab foundation and stated that they
had successfully installed it at the Neidig house:


Q. 	Can you try to draw a picture for the jury of what they explained to you about
the slab?


A. 	. . . They said, "We have got some alternatives."


Q.	Who were you meeting with?  Do you recall?


A.	I'm sure it was Maggio, and Dean Read and I had met before, too.  So I'm sure
it was probably Dean Read and Maggio.


	. . . .


Q.	They say we have an alternative.  What alternative did they explain to you?


A.	They told me they had done a foundation on a house within three or four miles
from me, or, you know, a short distance from me, three, to five, six miles;
something like that.  They even pointed to the house, told me which house it
was.


Q.	Was it Mr. Neidig's house?


A.	It was Mr. Neidig['s] . . . .



	MLAW engineer Dean Read testified that he never represented that MLAW installed
the foundation at the Neidig house.  Kirby Meyer, founder of MLAW and a builder and engineer for
over 40 years, testified that he had "inquired diligently with everyone" at MLAW and found that no
one told Kizer that MLAW had designed or constructed the foundation of the Neidig house.  Meyer
testified:


Q. 	If Mr. Kizer testifies that he was told that you-all had done another suspended
foundation--suspended slab foundation with planks within three miles of his
house; in other words, within the same kind of soil area, would that be true?


A. 	I never told him that.  I've inquired diligently from everybody in the company
that could have told him that, except John Maggio and nobody recalled that
statement.



	Maggio did not testify at trial.  While Kizer's testimony is at odds with Read's and
Meyer's testimony that they had made no such claims, it is not conclusive or undisputed.  The jury
was free to credit Read's and Meyer's testimony over Kizer's, because the jury is the sole judge of
the facts, the witnesses' credibility, and the weight given their testimony.  Keller, 2005 Tex. LEXIS
436, at *66; Turner v. KTRK Television, Inc., 38 S.W.3d 103, 134 (Tex. 2000).  There is evidence
supporting the jury's finding that MLAW never told Kizer that MLAW designed the foundation of
the Neidig house.  The jury's decision to reject Kizer's testimony is not so against the great weight
and preponderance of the evidence as to be manifestly unjust, shock the conscience, or clearly
demonstrate bias.  Golden Eagle Archery, Inc. v. Jackson, 116 S.W.3d 757, 761 (Tex. 2003). 
Similarly, Kizer's legal sufficiency challenge on his false-representation claim fails, because there
was evidence presented at trial supporting the jury's finding; thus, any evidence contrary to the
verdict was not conclusive. 

	Kizer claims that under Dixon v. Brooks the deference afforded to the jury does not
render its findings unassailable.  604 S.W.2d 330 (Tex. Civ. App.--Houston [14th Dist.] 1980, writ
ref'd n.r.e.).  But the fact that the jury's findings are not unassailable does not mean that any contrary
evidence is conclusive as a matter of law.  When there is conflicting testimony, the demeanor and
credibility of the witnesses must be assessed; this determination is the sole province of the jury. 
First City Bank-Farmers Branch v. Guex, 659 S.W.2d 734, 739 (Tex. App.--Dallas 1983), aff'd,
677 S.W.2d 25 (Tex. 1984); see also Keller, 2005 Tex. LEXIS 436, at *33; Golden Eagle, 166
S.W.3d at 761.

	Kizer next claims that MLAW committed an "unconscionable action" as a matter of
law.  The DTPA defines an "unconscionable action" as "an act or a practice which, to a consumer's
detriment, takes advantage of the lack of knowledge, ability, skill, experience, or capacity of the
consumer to a grossly unfair degree."  Tex. Bus. &amp; Com. Code Ann. § 17.45(5).  But this claim
hinges on Kizer's assertion that MLAW made the representation about the Neidig house to take
advantage of his lack of experience.  The jury was free to reject Kizer's testimony that such a
misrepresentation occurred.

	Moreover, even if MLAW made the statement Kizer attributes to it, the evidence is
not conclusive that Kizer's lack of experience or knowledge was so great that MLAW would have
been able to take advantage of him.  Kizer testified that he began working as a carpenter in the fifth
grade, and that together with his father and grandfather, he had "built a lot of Lubbock."  In addition,
Nesby testified that after the bankruptcy of the original builders, Kizer acted as his own general
contractor.  Nesby further testified that it was not MLAW that recommended the hollow-core slab
foundation, but either Nesby or another one of the builders.  Additionally, Meyer testified that
although MLAW's engineers had advised Kizer that he would need a capping stone if he wanted to
install tile, Kizer unilaterally decided to forgo the capping stone in favor of carpet for economic
reasons.  The evidence was sufficient for a reasonable jury to conclude that MLAW did not take
advantage of Kizer's inexperience, but that Kizer relied on his own expertise when he decided to lay
tile directly on top of the concrete planks.  Thus, there was evidence supporting the jury's verdict,
and the jury's finding that MLAW did not commit an unconscionable act is not against the great
weight and preponderance of the evidence. 

	Kizer cites Oxford Finance Co. v. Velez for the proposition that a seller's actions can
be "unconscionable as a matter of law" if it accepts payments and gives "nothing in return."  807
S.W.2d 460, 466 (Tex. App.--Austin 1991, writ denied).  In Oxford, Velez financed some home
improvements with a loan from Oxford secured by a lien on his house.  Id. at 461-62.  When Velez
discovered the improvements were faulty, he ceased payment on the loan.  Id.  Oxford foreclosed
on the property and sold the house to Mid-Tex.  Id.  Oxford had accepted both the loan payments
from Velez and the foreclosure monies from Mid-Tex when Velez filed suit.  Id.  Finding that the
contractor violated the DTPA, the jury voided the lien and the foreclosure; the trial court entered
judgment on the jury's verdict.  Id.  This Court upheld the jury's verdict and ordered Oxford to return
the foreclosure monies to Mid-Tex because Oxford would otherwise receive almost $15,000 from
Mid-Tex, despite giving Mid-Tex "nothing in return."  Id. at 466.  The unconscionable act in Oxford
was not the underlying DTPA violation, but Oxford's attempt to retain Mid-Tex's purchase money
after the foreclosure sale was voided.  Id.

	Similarly, Kizer claims that he received "less than nothing" in return for his reliance
on MLAW's misrepresentations.  But Kizer did receive something from MLAW--a fully functional
foundation, arguably preferable to the conventional slab-on-grade that would otherwise have been
installed.  

	Kizer also contends that MLAW's actions were a "producing cause of his economic
damages."  Under the legal sufficiency standard, the first question is whether there was any evidence 
supporting the verdict that MLAW was not a producing cause of Kizer's damages.  Kizer concedes
on appeal that it was the tile installer's responsibility, not MLAW's, to recommend the capping slab. 
If MLAW did not have any responsibility to inform Kizer of the necessity of placing a capping slab
before beginning any tile installation, (2) then its failure to recommend the capping slab cannot be a
producing cause of his damages.  Kizer claims that MLAW should have noted "capping slab
required" or "carpet only" on his house plans.  Because there was evidence that MLAW did inform
Kizer of the need for a capping slab as a prerequisite to tile installation, Kizer cannot claim that there
is "no evidence" to support the jury's verdict that MLAW was not a producing cause of his damages. 
The evidence that Kizer decided to dispense with the capping slab for economic reasons, despite
warnings from MLAW, supports the jury's finding that Kizer's negligence, not MLAW's, caused
the occurrence in question.  Thus, Kizer cannot prevail on his legal sufficiency challenge. 

	After weighing all the evidence of causation, Kizer's testimony that he was
misinformed by MLAW cannot overcome his admission that it was not MLAW's responsibility to
recommend a capping slab.  The jury's verdict does not shock the conscience and is not clearly and
manifestly wrong and unjust.  Golden Eagle, 116 S.W.3d at 761. 

	Kizer misapplies the legal and factual sufficiency standards of review.  He claims that
the existence of some evidence contrary to the jury's verdict (his own testimony) compels us to treat
that evidence as "undisputed," and therefore to find violations of the DTPA as a matter of law.  But
there is conflicting evidence on his DTPA claims, and Kizer's factual sufficiency argument does not
explain why we should credit his testimony over witnesses for MLAW.  A review for legal
sufficiency is more deferential to a jury's verdict than a review for factual sufficiency, because the
court conducting a factual sufficiency review considers all the evidence, both in favor of and contrary
to the jury's findings.  But even a factual sufficiency review defers to a jury's verdict unless it is
clearly and manifestly unjust.  We overrule Kizer's sole point of error.


CONCLUSION


	Having found that the record is legally and factually sufficient to support the jury's
verdict, we affirm the trial court's judgment.



					                                                                                    

					Jan P. Patterson, Justice

Before Chief Justice Law, Justices Patterson and Puryear

Affirmed

Filed:   August 25, 2005

1.   MLAW testified that the foundation of the Neidig house was designed by Roy Ullrich of
MLA, a sister company with offices across the hall from MLAW, but a distinct entity.
2.   The record shows that MLAW informed Kizer that if he wanted to install tile or any other
floor finishing (except stained concrete or carpet over heavy padding) a capping slab would be
necessary to prevent damage to the flooring.  MLAW understood that Kizer was going to use carpet. 

